                                          Case 4:23-cv-06296-HSG Document 23 Filed 01/03/24 Page 1 of 3




                                   1                                        UNITED STATES DISTRICT COURT

                                   2                                   NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          Michael J. Harrington, et al.,                      Case No. 4:23-cv-06296-HSG
                                                          Plaintiff(s),
                                   5
                                                                                                  APPLICATION FOR ADMISSION
                                                  v.                                              OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                                  ORDER
                                               FDIC, as Receiver for First Republic Bank,         (CIVIL LOCAL RULE 11-3)
                                   7
                                                          Defendant(s).
                                   8

                                   9

                                  10           I, David Christopher Giles , an active member in good standing of the bar of

                                  11                    Illinois                    , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: FDIC, as Receiver for First Republic Bank, in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is             Lynn Fiorentino              , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                      226691
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                       233 South Wacker Drive, Suite 7100                          44 Montgomery Street, 38th Floor
                                  16                                                               San Francisco, CA 94104
                                       Chicago, IL 60606
                                  17    MY ADDRESS OF RECORD                                       LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (312) 258-5500                                             (415) 757-5503
                                        MY TELEPHONE # OF RECORD                                   LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       david.giles@afslaw.com                                     lynn.fiorentino@afslaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 6274993                      .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                      0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:23-cv-06296-HSG Document 23 Filed 01/03/24 Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: January 3, 2024                                         /s/ David Christopher Giles
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                     ORDER GRANTING APPLICATION

                                   9                                FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of David Christopher Giles                 is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:            1/3/2024

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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
Case 4:23-cv-06296-HSG Document 23 Filed 01/03/24 Page 3 of 3
